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 1 TALONYA ADAMS
   522 N. Central Ave., Suite 25401
 2 Phoenix, Arizona 85004

 3 Telephone 602.903.8809
     talonya@gmail.com
 4
     Plaintiff
 5

 6
                           IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8

 9   Talonya Adams,                                          No. CV-17-00822-PHX-DLR
10                          Plaintiff,
                                                             NOTICE OF DEATH
11   v.                                                      OF FACT WITNESS
12                                                           OLIVIA CAJERO BEDFORD
     Arizona Senate,
13
                            Defendant.
14
            Plaintiff Talonya Adams hereby notifies the Court of the death of Ms. Olivia Cajero
15
      Bedford, former Arizona State Senator for Legislative District 3. The Honorable Olivia Cajero
16
      Bedford passed away on Thursday, February 10, 2022.1 In July 2019, Ms. Cajero Bedford
17
      testified at trial as a fact witness in this case. (Doc. 179). In 2021, Ms. Cajero Bedford was listed
18
      as a fact witness, however she did not testify during the second trial. (Doc. 325-1).
19

20          RESPECTFULLY SUBMITTED this 15th day of March, 2022.

21
                                                             By:________________________
22                                                              Ms. Talonya Adams, Plaintiff
23
     1 Associated
                Press, Former Arizona Lawmaker Olivia Cajero Bedford Dies at Age 83, U.S. NEWS,
24    https://www.usnews.com/news/best-states/arizona/articles/2022-02-10/former-arizona-
25    lawmaker-olivia-cajero-bedford-dies-at-age-83 (last visited March 15, 2022).

26   See also Governor Ducey Orders Flags at Half-Staff In Honor of Senator Olivia Cajero Bedford,
      ARIZONA GOVERNOR, https://azgovernor.gov/governor/news/2022/02/governor-ducey-orders-
27
      flags-half-staff-honor-senator-olivia-cajero-bedford (last visited March 15, 2022).
28
       Case 2:17-cv-00822-DLR Document 405 Filed 03/15/22 Page 2 of 2



 1                              CERTIFICATE OF SERVICE
 2

 3        I hereby certify that on March 15, 2022, the foregoing Notice of Death of Fact
 4   Witness Olivia Cajero Bedford was electronically transmitted to the Clerk’s Office using
 5   the CM/ECF system for filing, and a copy of the foregoing was sent via email to:
 6
     Mr. Michael Moberly
 7   Ryley, Carlock & Applewhite
     3200 N. Central Ave., Suite 1600
 8
     Phoenix, Arizona 85012
 9   Telephone 602.440.4800
     mmoberly@rcalaw.com
10
     Attorneys for Defendant
11

12

13   By: ________________________
14       Ms. Talonya Adams, Plaintiff
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